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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                                CASE NO. 8:11-CR-631-T-30MAP

 JOHN ENIRQUEZ TAYLOR RIVERS,

       Defendant.
 __________________________________/

                                                    ORDER

         This Cause is before the Court upon the Defendant’s Motion to Dismiss the

 Indictment or in the Alternative for a Hearing (Dkt. #449). Because the motion challenges

 the sentence in Defendant’s criminal case, the motion is in essence a motion to vacate,

 pursuant to 28 U.S.C. §2255.1

         Castro v. United States, 540 U.S. 375 (2003), instructs that a District Court must

 advise a movant that it intends to recharacterize a criminal post-conviction motion as a §2255

 motion, and warn the movant about the consequences of recharacterizing the motion as a

 motion seeking relief pursuant to §2255. In light of the foregoing, and in compliance with

 the requirements of Castro, the Court hereby advises Defendant of its intention to

 recharacterize his motion as a motion to vacate, set aside, or correct sentence pursuant to 28

 U.S.C. § 2255. The Court cautions Defendant that such recharacterization renders this

 motion and any subsequent § 2255 motion filed with this Court susceptible to each of the

         1
          28 U.S.C. § 2255 affords the exclusive remedy for challenging a federal conviction and sentence, unless
 the remedy is inadequate or ineffective. See Bradshaw v. Story, 86 F.3d 164, 166 (10th Cir. 1996); Broussard v.
 Lippman, 643 F.2d 1131, 1134 (5th Cir. 1981).
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 procedural limitations imposed upon § 2255 motions. Specifically, Defendant is cautioned

 that the instant motion and any subsequent § 2255 motion shall be subject to the one (1) year

 period of limitation and the successive petition bar applicable to post-conviction motions.2

          Accordingly, the Court ORDERS that on or before APRIL 4, 2013, Defendant shall

 advise this Court whether he seeks to do one (1) of the following:

          1.       Proceed before this Court pursuant to 28 U.S.C. § 2255 on those claims

 presented in his Motion to Dismiss the Indictment or in the Alternative for a Hearing (Dkt.

 #449);

          2.        Amend his motion to assert any additional claims pursuant to 28 U.S.C. § 2255

 on which he wishes to challenge the conviction and sentence imposed upon him by this

 Court; or

          3.       Withdraw his Motion to Dismiss the Indictment or in the Alternative for a

 Hearing (Dkt. #449).

          Defendant is CAUTIONED that if he fails to file a timely response in compliance

 with this Order, which requires that he advise the Court that he wishes to do one of the

 above, the Clerk will be directed to open a civil case and this cause shall proceed as an action

 under 28 U.S.C. § 2255, with the Court considering only those claims presented in his

 original motion (Dkt. #449).



          2
            “A 1-year period of limitation shall apply to a motion under this section.” 28 U.S.C. § 2255 ¶6. Further,
 Title 28 U.S.C. § 2244(b)(3)(A) requires that “[b]efore a second or successive [28 U.S.C. § 2255 motion] ... is filed
 in the district court, the applicant shall move in the appropriate court of appeals for an Order authorizing the district
 court to consider the application.” 28 U.S.C. § 2244(b)(3)(A).

                                                             2
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          The Clerk of Court is DIRECTED to provide Petitioner with the form used for filing

 a motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255 with

 Defendant’s copy of this Order.

          DONE and ORDERED in Tampa, Florida on March 4, 2013.




 Copies furnished to:
 Counsel/Parties of Record

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